Case 3:24-cv-00671-ZNQ-RLS            Document 40-2       Filed 04/19/24     Page 1 of 2 PageID:
                                             226


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Counsel for Defendants

                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY



ANN LEWANDOWSKI, on her own behalf and               Civil Action No.: 3:24-cv-671-ZNQ-RLS
on behalf of all others similarly situated,

                Plaintiff,
                                                     Hon. Zahid N. Quraishi
v.                                                   Hon. Rukhsanah L. Singh

JOHNSON AND JOHNSON, THE PENSION
& BENEFITS COMMITTEE OF JOHNSON
AND JOHNSON, PETER FASOLO,                            CERTIFICATION OF JEFFREY S.
WARREN LUTHER, LISA BLAIR DAVIS,
and DOES 1-20.                                            CHIESA IN SUPPORT OF
                                                     DEFENDANTS’ MOTION TO DISMISS
                Defendants.                          THE COMPLAINT AND STRIKE THE
                                                             JURY DEMAND



JEFFREY S. CHIESA, ESQ., of full age, hereby certifies as follows:

        1.      I am an attorney-at-law of the State of New Jersey and a member of the law firm of

Chiesa Shahinian & Giantomasi PC, attorneys for Johnson & Johnson (“J&J”), the Pension &

Benefits Committee of Johnson & Johnson (the “Committee”), Peter Fasolo, Warren Luther, and

Lisa Blair (collectively “Defendants”) in the above-captioned action. I have personal knowledge of

the facts set forth herein.

        2.      I make this Certification in support of Defendants’ Motion to Dismiss the Complaint

and Strike the Jury Demand.

        3.      Attached hereto, and relied upon in the Brief in Support of Defendants’ Motion to

Dismiss the Complaint and Strike the Jury Demand, are true and accurate copies of the following:

                                                 1
Case 3:24-cv-00671-ZNQ-RLS           Document 40-2        Filed 04/19/24     Page 2 of 2 PageID:
                                            227


       Exhibit A:       The Johnson & Johnson Group Health Plan (As Amended and Restated

       Effective January 1, 2023);

       Exhibit B:       The 2022 Summary Annual Report for the Johnson & Johnson Group Health

       Plan;

       Exhibit C:       A Summary Plan Description entitled “Prescription Drug Coverage Details

       Supplement” for the Johnson & Johnson Group Health Plan.

       4.      I certify that the foregoing statements by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.


                                            CHIESA SHAHINIAN & GIANTOMASI, P.C.
                                            Counsel for Defendants




                                            By: /s/ Jeffrey S. Chiesa

Dated: April 19, 2024




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